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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER SCOTT,            )                        ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s notice

of appeal (Filing No. 1289) as to the denial of his Rule 36

motion (Filing No. 1287 and Filing No. 1288).              The defendant is

entitled to proceed in forma pauperis.           However, the Court

declines to grant a certificate of appealability.               The issue

raised by defendant was considered by the Court and is without

merit.   Accordingly,

            IT IS ORDERED:

            1) Defendant is permitted to appeal in forma pauperis.

            2) No certificate of appealability will issue.

            DATED this 14th day of October, 2015.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
